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UNII'ED STATES DISTRICT COUR'jjl`

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EASTERN DISTRICT OF TEXAS § §`.:/"\STERN DV§STRFCT (")F TEX¢L\S
TEXARmmA DIVISION §
!z,’¥/, ’\`
THE STATE OF TEXAS, § …'5 § 8 '9%
Plaintiff § ,
§ r)/\.\/m.i. 1 cl,.Em<
v. CAUSE No. 5;96-cV-09;
THE AMERICAN ToBAcco 7

COMPANY; RJ. REYNOLDS
TOBACCO COMPANY; BROWN &
WILLL\IWSON TOBACCO CORF.;
B.A.'I`. INDUSTRIES, P.L.C.:

PHILIP MORRIS, lNC.: L]GG`ETT
GROUP, INC.: LORILLARD TOBACCO
COMPANY, INC.; UNITED STATES
TOBACCO COMPANY; H]'LL &
KNOWLTON, INC.; THE COUNC]L
FOR TOBACCO RESEARCH - USA,
INC. (Successor to Tobacco Iustitute
Research Committee); and THE TOBACCO
]NSTITUTE_. INC.

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Defendants
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NOW COME Momgomery Counry Hospital District, and Tarrant County Hospital District

(hereat`ter "'Tex‘as Local Govemments”) and pursuant to the Court’s order ofMarch 16, 1998 file

this brief regarding the Amicus Curiae Brief filed by ninety-seven Texas Counties (now by way of

amended pleading One hundred four Texas Counties)!

 

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Texas Local Governments have no objection to the Court's review and consideration of 'l'exas
Counties Amicus Cun'ac Briet`. In particular, Te><as Local Govemments agree with the position of
amici counties that counties and hospital districts have claims for damages against the Tobacco
Det`endants which are separate and distinct from the damages alleged by the State in this case. Texas
Local Governments also agree with the assertion by amici counties that the interests of the counties
cannot be adequately represented by any party in this case

Texas Local Govemments disagree with the assertion that any intervenor cannot represent
the counties as a class representative however, it is unnecessary for the Court to entertain this issue
at this time

Texas Local Governments agree that the Indigent Health Care and Treatment Act, Texas
Health & Sai`ety Code Ann. §§ 61.021 et. seq., requires 'l'exas Counties to provide health care
services at significant expense to the counties."

To the extent it is determined the claims of Texas Local Govemments have been affected by
the Settlement Agreement, 'l_”exas Local Govemments agree with the objection of amici counties to

the terms of the Settlement Agreement which establish a proposed allocation of settlement sums

solely to the State’s Treasury.

 

1 The amounts expendedbyTexas Hospital Distn'cts, including lntervenor Applicants, substantially exceeds
thc amounts expended by Texas Coundes for unreimbursed health cam, however, Texas Counties unreimbursed `
expenses in absolute dollar amounts are significant

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WHEREFORE, PREMISES CONSIDERED, Montgomery County Hospital District and

Tarrant County Hospital District pray that the Court consider the position of amici counties as set

forth in their Amicus Brief.

Respectiiilly submitted,

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COUNTY HOSPITAL DISTRICT

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1 hereby certify in compliance with Fed. R. Civ. P. 5 and the Case Management Order of
No\-/ember 5, 1996, that a true and correct copy of the foregoing document has been sent to the
following on this the 18th day ofMarch, 1998,

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